
14 N.Y.2d 781 (1964)
In the Matter of the Arbitration between Emma Ladin et al., as Executors of Morris Ladin, Deceased, et al., Appellants, and D. &amp; C. Textile Corp., Formerly Known as D. &amp; C. Binding and Trimming Co., Inc., Respondent.
Court of Appeals of the State of New York.
Argued May 4, 1964.
Decided June 4, 1964.
Warren B. Silberkleit, David L. Marks and Saul D. Kassow for appellants.
Solomon Ostrov for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, BURKE, SCILEPPI and BERGAN. Judge VAN VOORHIS dissents and votes to reverse and to stay the arbitration proceeding upon the ground stated in the dissenting opinion at the Appellate Division.
Order affirmed, with costs; no opinion.
